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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

BRANDON SMIETANA, SKYCOIN
GLOBAL FOUNDATION LIMITED, a
Singapore company, and SYMBOLIC
ANALYTICS INC., a Delaware corporation,
                                                           Civil Action No. 24-cv-08617
                           Plaintiffs,

v.
                                                           Honorable John Robet Blakey
BRADFORD STEPHENS, AARON KUNSTMAN,
JOEL WAYNE CUTHRIELL, MORGEN PECK,
CATHERINE BYERLY, ADVANCE MAGAZINE
PUBLISHERS INC. d/b/a THE NEW YORKER,
and UNKNOWN INDIVIDUALS and
COMPANIES,
                           Defendants.



                            DECLARATION OF NIMAL EAMES-SCOTT

          I, Nimal Eames-Scott, declare as follows:

          1.        I am over the age of eighteen and have personal knowledge of the matters stated

below, and if called to testify, I could and would competently testify to these facts.

          2.        I am submitting this declaration on behalf of Advance Magazine Publishers Inc.

d/b/a The New Yorker ("The New Yorker"), which is the publisher of The New Yorker

magazine.

       3.           I am a Senior Editor for The New Yorker magazine, where I have worked since

August 2015. I have been a Senior Editor at the magazine since October 2020.

       4.           I was the editor on Pumpers, Dumpers, and Shills: the Skycoin Saga, which was

written by freelance reporter Morgan Peck and published exclusively online at The New Yorker 's

website        on      August      18,    2021     (the    "Article").    It    is    available       at
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https://www.newvorker.com/tech/annal s-o1-techno I ogy/purn pers-d um hers-and-sh i Its-t he-

skycoin-saga. A true and correct copy is attached hereto as Exhibit A.

        5.     At the time the Article was being drafted and written, no one at The New Yorker

believed that Brandon Smietana, Skycoin Global Foundation Limited, or Symbolic Analytics

Inc. were domiciled in Illinois. Skycoin is a Singapore company, Symbolic Analytics is

incorporated in Delaware, and Mr. Smietana was interviewed by Ms. Peck in New York City as

the Article recounts.

       6.      While Ms. Peck did travel from time to time in reporting the Article, she was

based in New York when she reported and wrote the Article while in New York City and did

additional writing in New Jersey. No part of the Article was written in Illinois.

       7.      I edited the Article predominantly in New York City, but also edited the Article

while traveling in California and Alaska. No part of the Article was edited in Illinois.

       8.      The Article was fact-checked by Anna Boots in New York City.

       9.      The Article was published online in New York City. The New Yorker's website is

centered in and maintained in New York City.

       This declaration was executed on thh 21st
                                            21st day of October, 2024, in New York, NY. I


declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




                                                            Nimal Earn s-Scott




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